                                        Case 20-10014-mdc Doc 146-1 Filed 04/22/20 Entered 04/22/20 23:59:53                                                                                                                                                                                                                 Desc
                                                      Exhibit A - Projected Disposable Income Page 1 of 3




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          ŝƐƉŽƐĂďůĞ/ŶĐŽŵĞdĞƐƚ
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                                            dKd>         dKd>           dKd>          dKd>           dKd>          dKd>            dKd>       dKd>       dKd>        dKd>       dKd>       dKd>       dKd>       dKd>
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              DDZ^                        ϴϯϱΎ           ϵϴϯ             ϭϬϮϯΎΎ           ϭϬϱϬ             ϭϬϲϬ            ϭϭϬϬ              ϭϮϬϲ         ϭϮϰϬ         ϭϮϴϬ          ϭϯϭϬ         ϭϯϮϬ         ϭϯϯϬ         ϭϯϲϴ         ϭϯϴϮ              ϭϰϬϯ         ϭϰϬϯ         ϭϰϭϬ         ϭϰϭϬ         ϭϰϭϮ         ϭϰϭϮ         ϭϰϭϮ        ϭϰϭϮ        ϭϰϭϮ
  ΎZĞĨůĞĐƚƐŶƵŵďĞƌƐĚƵĞƚŽŽǀŝĚͲϭϵ
ΎΎZĞĨůĞĐƚŝŽŶƐŵŝŐƌĂƚŝŽŶĨƌŽŵ>ŝŵĞƌŝĐŬ     DKEd,>z       DKEd,>z         DKEd,>z        DKEd,>z         DKEd,>z        DKEd,>z          DKEd,>z       DKEd,>z      DKEd,>z       DKEd,>z      DKEd,>z       DKEd,>z       DKEd,>z       DKEd,>z       DKEd,>z      DKEd,>z      DKEd,>z      DKEd,>z      DKEd,>z      DKEd,>z      DKEd,>z     DKEd,>z     DKEd,>z
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$QQXDO)HH                          ηs>h͊           ϯ͕ϭϵϰ͘ϳϱ      ηs>h͊            ϯ͕ϰϭϮ͘ϱϬ        ϯ͕ϰϰϱ͘ϬϬ          ϯ͕ϱϳϱ͘ϬϬ        ϯ͕ϵϭϵ͘ϱϬ     ϰ͕ϬϯϬ͘ϬϬ      ϰ͕ϭϲϬ͘ϬϬ     ϰ͕Ϯϱϳ͘ϱϬ     ϰ͕ϮϵϬ͘ϬϬ      ϰ͕ϯϮϮ͘ϱϬ      ϰ͕ϰϰϲ͘ϬϬ      ϰ͕ϰϵϭ͘ϱϬ     ϰ͕ϱϱϵ͘ϳϱ     ϰ͕ϱϱϵ͘ϳϱ     ϰ͕ϱϴϮ͘ϱϬ     ϰ͕ϱϴϮ͘ϱϬ     ϰ͕ϱϴϵ͘ϬϬ     ϰ͕ϱϴϵ͘ϬϬ     ϰ͕ϱϴϵ͘ϬϬ    ϰ͕ϱϴϵ͘ϬϬ    ϰ͕ϱϴϵ͘ϬϬ
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-XLFH%DU                              ϮϱϬ͘ϬϬ        ϭ͕ϯϬϬ͘ϬϬ           ϮϱϬ͘ϬϬ          ϮϱϬ͘ϬϬ          ϮϱϬ͘ϬϬ            ϮϱϬ͘ϬϬ          ϰϱϬ͘ϬϬ       ϰϱϬ͘ϬϬ        ϰϱϬ͘ϬϬ       ϰϱϬ͘ϬϬ       ϰϱϬ͘ϬϬ        ϰϱϬ͘ϬϬ        ϰϱϬ͘ϬϬ        ϰϱϬ͘ϬϬ       ϰϱϬ͘ϬϬ       ϰϱϬ͘ϬϬ       ϰϱϬ͘ϬϬ       ϰϱϬ͘ϬϬ       ϰϱϬ͘ϬϬ       ϰϱϬ͘ϬϬ       ϰϱϬ͘ϬϬ      ϰϱϬ͘ϬϬ      ϰϱϬ͘ϬϬ
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727$/0217+/<,1&20()URP$ERYH             ηs>h͊          ϯϰ͕ϴϳϰ͘ϵϮ      ηs>h͊           ϯϳ͕Ϭϭϭ͘ϴϬ       ϯϳ͕ϯϲϰ͘Ϯϵ         ϯϵ͕ϰϯϰ͘Ϭϰ       ϰϯ͕Ϯϯϰ͘Ϭϱ    ϰϰ͕ϰϱϮ͘ϵϮ     ϰϱ͕ϴϴϲ͘ϴϵ    ϰϲ͕ϵϲϮ͘ϯϲ    ϰϳ͕ϯϮϬ͘ϴϱ     ϰϳ͕ϲϳϵ͘ϯϰ     ϰϵ͕Ϭϰϭ͘ϲϭ     ϰϵ͕ϱϰϯ͘ϱϬ    ϱϬ͕Ϯϵϲ͘ϯϯ    ϱϬ͕Ϯϵϲ͘ϯϯ    ϱϬ͕ϱϰϳ͘Ϯϳ    ϱϬ͕ϱϰϳ͘Ϯϳ    ϱϬ͕ϲϭϴ͘ϵϳ    ϱϬ͕ϲϭϴ͘ϵϳ    ϱϬ͕ϲϭϴ͘ϵϳ   ϱϬ͕ϲϭϴ͘ϵϳ   ϱϬ͕ϲϭϴ͘ϵϳ

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&ŝƌƐƚĂŶŬ^ƵƉĞƌWƌŝŽƌŝƚǇĚŵŝŶůĂŝŵ            ϳϲ͘Ϭϰ           ϳϲ͘Ϭϰ            ϳϲ͘Ϭϰ           ϳϲ͘Ϭϰ           ϳϲ͘Ϭϰ             ϳϲ͘Ϭϰ           ϳϲ͘Ϭϰ       ϮϬϲ͘ϯϰ        Ϯϳϵ͘ϲϯ       Ϯϳϵ͘ϲϯ       ϯϱϵ͘ϭϭ        ϯϱϵ͘ϭϮ        ϯϴϯ͘ϳϭ        ϯϴϴ͘ϰϭ       ϯϵϯ͘ϭϮ       ϯϵϯ͘ϭϮ       ϯϵϯ͘ϭϮ       ϯϵϯ͘ϭϮ       ϯϵϰ͘ϭϵ       ϯϵϰ͘ϰϭ       ϯϵϴ͘ϴϴ      ϯϵϴ͘ϴϴ      ϯϵϴ͘ϴϴ
ĞďƚŽƌΖƐƚƚŽƌŶĞǇ                                ϵϵ͘ϳϯ           ϵϵ͘ϳϯ            ϵϵ͘ϳϯ           ϵϵ͘ϳϯ           ϵϵ͘ϳϯ             ϵϵ͘ϳϯ           ϵϵ͘ϳϯ       ϮϳϬ͘ϲϭ        ϯϲϲ͘ϳϮ       ϯϲϲ͘ϳϮ       ϰϳϬ͘ϵϱ        ϰϳϬ͘ϵϳ        ϱϬϯ͘ϮϮ        ϱϬϵ͘ϯϴ       ϱϭϱ͘ϱϱ       ϱϭϱ͘ϱϱ       ϱϭϱ͘ϱϱ       ϱϭϱ͘ϱϱ       ϱϭϲ͘ϵϲ       ϱϭϳ͘Ϯϱ       ϱϮϯ͘ϭϮ      ϱϮϯ͘ϭϮ      ϱϮϯ͘ϭϮ
ĞďƚŽƌΖƐĐĐŽƵŶƚĂŶƚ                              ϰϵ͘ϴϰ           ϰϵ͘ϴϰ            ϰϵ͘ϴϰ           ϰϵ͘ϴϰ           ϰϵ͘ϴϰ             ϰϵ͘ϴϰ           ϰϵ͘ϴϰ       ϭϯϱ͘Ϯϴ        ϭϴϯ͘ϯϰ       ϭϴϯ͘ϯϰ       Ϯϯϱ͘ϰϱ        Ϯϯϱ͘ϰϲ        Ϯϱϭ͘ϱϴ        Ϯϱϰ͘ϲϳ       Ϯϱϳ͘ϳϱ       Ϯϱϳ͘ϳϱ       Ϯϱϳ͘ϳϱ       Ϯϱϳ͘ϳϱ       Ϯϱϴ͘ϰϲ       Ϯϱϴ͘ϲϬ       Ϯϲϭ͘ϱϯ      Ϯϲϭ͘ϱϯ      Ϯϲϭ͘ϱϯ
^ƵďĐŚĂƉƚĞƌsdƌƵƐƚĞĞƐƐƚŝŵĂƚĞ                   ϰϵ͘ϴϰ           ϰϵ͘ϴϰ            ϰϵ͘ϴϰ           ϰϵ͘ϴϰ           ϰϵ͘ϴϰ             ϰϵ͘ϴϰ           ϰϵ͘ϴϰ       ϭϯϱ͘Ϯϴ        ϭϴϯ͘ϯϰ       ϭϴϯ͘ϯϰ       Ϯϯϱ͘ϰϱ        Ϯϯϱ͘ϰϲ        Ϯϱϭ͘ϱϴ        Ϯϱϰ͘ϲϳ       Ϯϱϳ͘ϳϱ       Ϯϱϳ͘ϳϱ       Ϯϱϳ͘ϳϱ       Ϯϱϳ͘ϳϱ       Ϯϱϴ͘ϰϲ       Ϯϱϴ͘ϲϬ       Ϯϲϭ͘ϱϯ      Ϯϲϭ͘ϱϯ      Ϯϲϭ͘ϱϯ
WŽƐƚŽŶĨŝƌŵĂƚŝŽŶdƌƵƐƚĞĞ&ĞĞƐ                   ϳϭ͘ϰϯ           ϳϭ͘ϰϯ            ϳϭ͘ϰϯ           ϳϭ͘ϰϯ           ϳϭ͘ϰϯ             ϳϭ͘ϰϯ           ϳϭ͘ϰϯ       ϭϵϯ͘ϳϱ        ϮϲϮ͘ϱϱ       ϮϲϮ͘ϱϱ       ϯϯϳ͘ϭϳ        ϯϯϳ͘ϭϴ        ϯϱϴ͘ϯϳ        ϯϱϵ͘ϮϮ       ϯϲϬ͘Ϭϳ       ϯϲϬ͘Ϭϳ       ϯϲϬ͘Ϭϳ       ϯϲϬ͘Ϭϳ       ϯϲϬ͘Ϯϲ       ϯϲϬ͘ϯϬ       ϯϲϭ͘ϭϭ      ϯϲϭ͘ϭϭ      ϯϲϭ͘ϭϭ
             dŽƚĂůWůĂŶWĂǇŵĞŶƚƐ              ϭ͕ϱϬϬ͘ϬϬ        ϭ͕ϱϬϬ͘ϬϬ         ϭ͕ϱϬϬ͘ϬϬ        ϭ͕ϱϬϬ͘ϬϬ        ϭ͕ϱϬϬ͘ϬϬ          ϭ͕ϱϬϬ͘ϬϬ        ϭ͕ϱϬϬ͘ϬϬ     ϰ͕Ϭϲϴ͘ϴϯ      ϱ͕ϱϭϯ͘ϲϱ     ϱ͕ϱϭϯ͘ϲϰ     ϳ͕ϬϴϬ͘ϱϭ      ϳ͕ϬϴϬ͘ϳϮ      ϳ͕ϱϮϱ͘ϲϳ      ϳ͕ϱϰϯ͘ϱϳ     ϳ͕ϱϲϭ͘ϰϲ     ϳ͕ϱϲϭ͘ϰϲ     ϳ͕ϱϲϭ͘ϰϲ     ϳ͕ϱϲϭ͘ϰϲ     ϳ͕ϱϲϱ͘ϱϱ     ϳ͕ϱϲϲ͘ϯϳ     ϳ͕ϱϴϯ͘ϰϬ    ϳ͕ϱϴϯ͘ϰϬ    ϳ͕ϱϴϯ͘ϰϬ
                              Case 20-10014-mdc Doc 146-1 Filed 04/22/20 Entered 04/22/20 23:59:53                                                                                                                                                                                                                                                            Desc
                                            Exhibit A - Projected Disposable Income Page 2 of 3




   Ϯϰ          Ϯϱ           Ϯϲ           Ϯϳ           Ϯϴ           Ϯϵ           ϯϬ           ϯϭ           ϯϮ           ϯϯ           ϯϰ           ϯϱ           ϯϲ           ϯϳ          ϯϴ           ϯϵ          ϰϬ          ϰϭ           ϰϮ          ϰϯ          ϰϰ          ϰϱ          ϰϲ          ϰϳ          ϰϴ          ϰϵ          ϱϬ          ϱϭ          ϱϮ          ϱϯ          ϱϰ          ϱϱ
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                                            Exhibit A - Projected Disposable Income Page 3 of 3




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   ϯϬϭ͘ϳϮ      ϯϬϭ͘ϳϮ       ϯϬϭ͘ϳϮ      ϯϬϭ͘ϳϮ      ϯϬϭ͘ϳϮ
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